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Stac^^£ecora^
From:                   I'           systems_unit@laed.uscourts.gov on behalf of Do Not Reply
                                     <do_not_reply@laed.uscourts.gov>
Sent:                                Friday, March 7, 2025 6:10 AM
To:                                  LAEDml_Pro Se
Subject:                             New EDSS Filing Submitted


A new EDSS Filing has been submitted. The filing i/i/os submitted on Friday, March 7, 2025 - 06:10 from IP Address
10.164.8.193 .   .     I

Submitted values are:


Filer's Full Name: Hiran Rodriguez



Filer's Email Address: hiranrodriguez@outlook.com



Filer's Mailing Address (Street, Apt/Suit No., City, State, Zip): 820 Grove Ave, Metairie, LA, 70003-7024.


Filer's Phone Number: 5042038459




Case Number (if known); 2:25-cv-00197-JCZ-DPC


Case Name: Rodriguez v. Meta Platforms, Inc et al



Document 1 Description: Opposition to Defendants' Motion to Dismiss Or, Alternatively, To Quash Service of Process.
                             i


Document 2 Description: Supplemental Affidavit of Service for Jefferson Parish Sheriff's Office and Sheriff Joseph P.
Lopinto III            ;

Documents Description':

Document 4 Description:!

Document 5 Description:



The submitted documents will arrive in your EDSS Filings bucket within 15 minutes.




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